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6    ZOHRA RICHARDSON
7

8                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
9                        SAN FRANCISCO / OAKLAND DIVISION
10   CAROLYNN TAYMUREE, an                          Case No. 3:16-cv-06139 JST
     individual, and ZOHRA
11   RICHARDSON, an individual,
                                                    JOINT NOTICE OF SETTLEMENT
12                Plaintiff,
13         v.
14   ELECTRONIC DOCUMENT
     PROCESSING, INC., a California
15   corporation; PRESCOTT
     WOODFORD, individually and in his
16   official capacity; and DOES 1 through
     10, inclusive,
17
                  Defendants.
18
     _________________________/
19

20                             JOINT NOTICE OF SETTLEMENT
21         PLEASE TAKE NOTICE THAT plaintiffs and defendants have reached an
22   agreement to settle this case. The settlement is expected to be completed within 21
23   days of the date this stipulation is filed and entered, and if that occurs, the parties
24   will file a Stipulation and Order for Dismissal within 30 days of that date.
25

26   DATED: January 20, 2017                        ___/s/ Steven S. Nimoy_______
                                                    STEVEN S. NIMOY
27                                                  Soltman, Levitt, Flaherty & Wattles LLP
                                                    Attorneys for Defendants
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                                  NOTICE OF SETTLEMENT
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1                                                 ELECTRONIC DOCUMENT
                                                  PROCESSING, INC. and
2                                                 PRESCOTT WOODFORD
3

4                           Attestation pursuant to L.R. 5-1(i)(3)
5          The undersigned attests that concurrence in the filing of this document has
6    been obtained from each of the other Signatories, which shall serve in lieu of their
7    signatures on the document.
8

9    DATED: January 24, 2017                      ___/s/ James A. Michel_______
                                                  JAMES A. MICHEL
10                                                Attorney for Plaintiffs
                                                  CAROLYN TAYMUREE and
11                                                ZOHRA RICHARDSON
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                                 NOTICE OF SETTLEMENT
